 

 

Case 1:98-cr-00038-JMS-MJD Document I7~FIGdUS/3I/TS Page 1 of 2 PagelD #: 304

FILED
U.S, Dist TRICT COURT
INDIANAPOLIS DIVISION

Plaintiff(s) “7AR~K A tih't& | ) ZB MAY 310 PM 2:
) Case No: a 5 ~2FEFS
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fel, seta of ASE INRIAM
Yl RA ) Cul ager o Kile
Defendant(s) 4” Chic . )
)

MOTION FOR ATTORNEY REPRESENTATION
(NOTE: Failure to complete all items may result in the denial of this motion.)

1. L YW A ALA FE , declare that J am the (check appropriate box)

[A plaintiff LJ defendant in this case and that ] am unable to afford the services of an attorney. I
hereby ask the Court for an attorney to represent me in this case.

2. Ideclare that I have contacted the following attorneys/organizations seeking representation:
(NOTE: This item must be completed.)
Vohai MeSeS
Kirdacd ik 10. wese iskes
Vor ralclesy ed

GCSE /e/ Com IE.

but I have been unable to find an attorney because:
= hpr€ we rere, Add The
dew't take 65 bose c4x

3. Ideclare that (check all that apply):
(Now)
lam not currently represented by an attorney requested by the Court in any federal criminal or
civil case.
OR
[1 Lam currently represented by an attorney requested by the Court in a federal criminal or civil
case. The case is described on the back of this page.

(Earlier:)
C] Ihave not previously been represented by an attorney requested by the Court in any federal
criminal or civil case.

OR
W I have previously been represented by an attomey requested by the Court in'a federal criminal or
civil case. The case is described on the back of this page.

4, Ideclare that (check one):
| have attached an original Application for Leave to Proceed Jn Forma Pauperis detailing my

financial status.
 

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Case 1:98-cr-00038-JMS-MJD Document17 Filed 05/31/13 Page 2 of 2 PagelD #: 305

at have previously filed an Application for Leave to Proceed Jn Forma Pauperis in this case, and

O

it is still true and correct.

I have previously filed an Application for Leave to Proceed Jn Forma Pauperis in this case.
However, my financial status has changed and J have attached an Amended Application to
Proceed Jn Forma Pauperis to reflect my current financial status.

I declare that my highest level of education is (check one):

bE
[J Grammar school [B-Some high school [1] High school graduate

[Some college College graduate C1] Post-graduate

I declare that my ability to speak, write, and/or read English is limited because English is not my
primary language. (Check only if applicable.)

I declare that this form and/or other documents in this case were prepared with the help of an
attorney from the U.S. District Court Pro Se Assistance Program. (Check only if applicable.)

I declare under penalty of perjury that the foregoing is true and correct.

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ovant’s Signature Street Address

SF -AG - Hels Feb e Macte re $/7ES

Date

City, State, Zip

Other cases in which an attorney requested by this Court has represented me:

 

 

 

Case Name: Case No.:

Attorney’s Name: The case is still pending: Yes No
The appointment was limited to settlement assistance: Yes No

Case Name: Case No.:

Attorney's Name:

 

The case is still pending: Yes No

 

 

 

 

The appointment was limited to settlement assistance: Yes No
Case Name: Case No.:
Attorney’s Name: The case is still pending: Yes No

The appointment was limited to settlement assistance: Yes No

 

 

 
